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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA



  PLASTICS INDUSTRY ASSOCIATION,                       Civil Action No. 24-CV-01542-APM

                       Plaintiff,

  v.                                                    HON. AMIT P. MEHTA

  ROB BONTA, in his Official Capacity as
  Attorney General of California,


                       Defendant.




                           DEFENDANT’S OPPOSITION
                      TO PLAINTIFF’S SUPPLEMENTAL BRIEF

       Defendant Rob Bonta, Attorney General of the State of California (hereinafter, and

together with his office, “the Attorney General”), hereby objects to the Supplemental Brief

that was filed by Plaintiff Plastics Industry Association, Inc. (“PLASTICS”), on August

30, 2024 (ECF 18), on the ground it violates Federal Rule of Civil Procedure 11(b), and

this Court’s order at the hearing on August 28, 2024.

       It was the Attorney General’s understanding that the parties were to submit

additional authorities regarding the legal issues discussed at oral argument, but that the

record would be considered closed to further argument. Specifically, as indicated in the

copy of the transcript filed with the Court (ECF 19, Transcript or Preliminary Injunction

Via Zoom Proceedings), the Court remarked, “I do think I need to consider the record

closed at the point, because if I were to open it up, it would invite further briefing from the
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AG.” Id. at 80:12–14. The Court then stated, “So I'll just leave the record as is, and

certainly look forward to any additional case law and authorities that you think are relevant

to the issues that we've talked about today … .” Id. at 80:15–18.

      If the Court is inclined to accept PLASTICS’ Supplemental Brief, the Attorney

General respectfully requests leave to file a response.




Dated September 4, 2024                      Respectfully submitted,

                                             ROB BONTA
                                             Attorney General of California
                                             DANIEL A. OLIVAS
                                             Senior Assistant Attorney General
                                             VANESSA MORRISON
                                             Supervising Deputy Attorney General

                                             /s/ Katherine Schoon                         .
                                             KATHERINE SCHOON
                                             ELIZABETH B. RUMSEY
                                             Deputy Attorneys General
                                             Attorneys for Defendant Rob Bonta, in his Official
                                             Capacity as Attorney General of California
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